Case 22-12287-JKS          Doc 72      Filed 08/30/24 Entered 09/03/24 12:03:02            Desc Main
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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY


  Caption in Compliance with D.N.J. LBR 9004-1( b)
  Denise Carlon, Esq.                                                  Order Filed on August 30, 2024
                                                                       by Clerk
  KML LAW GROUP, P.C.
                                                                       U.S. Bankruptcy Court
  701 Market Street, Suite 5000                                        District of New Jersey
  Philadelphia, PA 19106
  U.S. Bank National Association, as Trustee, successor
  in interest to Bank of America, National Association
  as successor by merger to LaSalle Bank National
                                                          Case No:      22-12287 JKS
  Association, as Trustee for Certificateholders of       Hearing Date: July 25, 2024
  Washington Mutual Asset-Backed Certificates
                                                          Judge: John K. Sherwood
  WMABS Series 2007-HE2
                                                          Chapter: 13
 In Re:
 Adesina B. Ogunlana

          DEBTOR(S),




                       Recommend Local Form               Followed     Modified


                                  ORDER VACATING STAY

     The relief set forth on the following page is hereby ordered ORDERED.




    DATED: August 30, 2024
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       Upon the motion of U.S. Bank National Association, as Trustee, successor in interest to Bank of
America, National Association as successor by merger to LaSalle Bank National Association, as Trustee
for Certificateholders of Washington Mutual Asset-Backed Certificates WMABS Series 2007-HE2,
under Bankruptcy Code section 362(d) for relief from the automatic stay as to certain property as
hereinafter set forth, and for cause shown, it is
       ORDERED that the motion is granted and the stay is terminated to permit the movant to
institute or resume and prosecute to conclusion one or more actions in the court(s) of appropriate
jurisdiction to pursue the movant’s rights in the following:

               Real Property More Fully Described as:

               Land and premises commonly known as 136 -138 N 13Th St, Newark NJ 07107


               Personal Property More Fully Describes as:

       It is further ORDERED that the movant, its successors or assignees, may proceed with its
rights and remedies under the terms of the subject Mortgage and pursue its State Court remedies
including, but not limited to, taking the Property to Sheriff’s Sale, in addition to potentially
pursuing other loss mitigation alternatives, including, but not limited to, a loan modification,
short sale or deed-in-lieu foreclosure. Additionally, any purchaser of the Property at Sheriff’s
Sale (or purchaser’s assignee) may take any legal action for enforcement of its right to
possession of the Property.
       It is further ORDERED that the movant may join the debtor and any trustee appointed in
this case as defendants in its action(s) irrespective of any conversion to any other chapter of the
Bankruptcy Code.
       It is further ORDERED that the movant shall be permitted to reasonably communicate
with Debtor(s) and Debtor(s)’ counsel to the extent necessary to comply with applicable non-
bankruptcy law.
       It is further ORDERED that the Trustee is directed to cease in making any further
distributions to the Creditor.
       The movant shall serve this order on the debtor, any trustee and any other party who
entered an appearance on the motion.


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